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GREGORY A. VEGA Sit D
United States Attomey 99 ber —

ROBERT H. PLAXICO I? p
Assistant U. §. Attorney hea | a lé
California State Bar No. 054953 re re
Office of U.S. Attorney OE here,
Federal Office Building YN Oe
880 Front Street, Room 6293 fl
San Diego, California 92101-8893 Cena,
Telephone: (619) 557-6277
Attomeys for Plaintiff
United States of America
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
99 cv 26.5
UNITED STATES OF AMERICA, ) Civil No.
)
Plaintiff, )
) “
v. ) STATEMENT AND CONFESSION
) OF JUDGMENT
MICHAEL D. MILLIGAN, )
)
Defendant. )
)

 

State of California)
) $s.
County of San Diego )
Tam a resident of the County of San Diego, State of California, and have confessed judgment

to the United States of America as follows:

Principal $10,834.48
Interest at the rate of 8.25

percent per annum from January 16, 1998 $ 1,779.80
TOTAL $12,614.28

This sum 1s justly due to the United States of America and arises from a loan insured by the

Department of Education.

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] empower the U. S. Attomey or any Assistant U. S. Attorney to appear for me and to enter
judgment against me right now in the above amount. The debt will bear interest after judgment at the
current legal rate compounded annually until paid in full, pursuant to the provisions of 28 U.S.C.
1961(b).

[ have been told that I have the right to consult with an attorney before signing this document,
but I knowingly and freely waive that opportunity and choose to sign this document without consulting
with an attorney or seeking the prior assistance of any attorney or other advisor.

[ acknowledge that by signing this document, I may be waiving rights and defenses I might
otherwise interpose regarding this debt. I waive the right to have a complaint upon this obligation filed
against me in federal district court; the issuance of and service of process upon me of such a complaint;
any venue requirements in such suit; the right to obtain discovery from the government as to the
evidence of its claim; the right to a jury or court trial at which I could raise any objections or defenses
to the governments's claim; the right to require the government to prove its claim by preponderance of
the evidence; and the right to appeal any adverse decision by a court or Jury to the court of appeals. I
understand that my signature allows the government to enter a judgment against me nght now; that the
government will record an abstract of judgment with the County Recorder; and that the judgment may
appear on my credit record.
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I also understand that if | fail to pay upon this judgment to be entered against me, my salary may

be garnished, or my real or personal property seized.

OL JE WHHL 0
MICHAEL D. MILLIGAN _-~

 

State of California —}
Ss.
County of San Diego )

iY Y /
On Wp 7 before me, A 4s Ts Shorey Public in and for said

County and State, personally appeared 2 4F LL) GULLY CA. personally known (or
proved to me on the basis of satisfactory evidence) to be the person a name is subscribed to the
within instrument and acknowledge to me that he executed the same in his authorized capacity, and that
by his signature on the instrument the person, or the entity upon behalf of which the person(s) acted,
executed the instrument.

   
   
 

ura Ann Potts z

WITNESS my hand and official seal
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Case 3:99-cv-02610 Document1 Filed 12/13/99 PagelD.5 Page 5of5

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The JS -44 civil cover sheet and the information contained herein neither replace nor supplement the filing end service of pleadings or other TS Os Tequirec
by law, excep! as provided by local rules of court This form, approved by the Judicial Conterence of the United States in September 1974, required for the uss
of the Cierk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. (a) PLAINTIFFS DEFENDANTS
United States of America MICHAEL D. MILLIGAN
(1b) counTy oF RESIDENCE OF FIRST LISTED PLANTIFF San Prego COUNTY OF RESIDENCE OF FST USTED KeFENDANT — AN Diego
(EXCEPT IN US. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, UBE THE LOCATION OF THE
TRACT OF LAND INVOLVED.
(C) ATTORNEYS (Fifa NAME, ADORESS, AND TELEPHONE NUMBER) ATTORNEYS. (F KNOWN}
GREGORY A. VEGA, U.S. ATTORNEY
ROBERT H. PLAXICO, Assistant U.S. Attorney .
880 Front Street, Rm. 6293 557-5977 Ske
San Diego, CA 92101~8893 A.
Nl. BASIS OF JURISDICTION = puce an 1 wonesoxonn{ Hl, CITIZENSHIP OF PRINCIPAL PARTIES 6 er nn
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